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Declaration of Kerrie Dent - Exhibit 1




       UNREDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
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Declaration of Kerrie Dent - Exhibit 2




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Declaration of Kerrie Dent - Exhibit 3




       UNREDACTED VERSION OF
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 Declaration of Kerrie Dent - Exhibit 4
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                                                                King & Spalding LLP
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October 14, 2022

Via Electronic Mail

Andrew Dawson
Ross Weingarten
Assistant U.S. Attorneys
United States Attorney’s Office
450 Golden Gate Ave., Floor 11
San Francisco, CA 94102

Re: United States v. Andrade, No. CR20-249 RS

Dear Mr. Dawson and Mr. Weingarten,

       This letter summarizes numerous outstanding issues from our discovery letters dated
March 3, March 7, May 10, and July 15, 2022, which we discussed during our call on Monday,
October 3 (the “meet and confer”). For many of the disputes, we have referenced documents
to support our view that certain documents exist; however, we are not obligated to prove that
there are responsive documents that you have failed to provide. Rather, the government has
an obligation to search for and produce all documents and data that we are entitled to under
Rule 16 of the Federal Rules of Criminal Procedure and Brady v. Maryland, 373 U.S. 83, 87-88
(1963). Given that a majority of the outstanding requests were made seven months ago, we
are hopeful that we can resolve the issues promptly. Much of the material requested is core
Rule 16 material that should have been produced long ago, even absent a specific request. We
plan to file a motion to compel production of any documents that have not been produced,
or for which we have not received a schedule for production, by Friday, October 21, 2022.

March 3, 2022 Discovery Letter

       The government has not produced the full Cellebrite file that contains WhatsApp and
Telegram messages that were on Mr. Andrade’s phones (Req. #14). His phones also contain
the Skype communications between Mr. Andrade and Ms. Foteh involving the AML Bitcoin
Super Bowl advertisement. The government stated during the meet and confer that only a
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small number of the 18 devices seized from Mr. Andrade were imaged. 1 However, it is our
understanding that at least one of the phones containing WhatsApp and Telegram messages
was imaged while the agents were at Mr. Andrade’s house. In addition, a Cellebrite report
from one of Mr. Andrade’s Motorola cellphones is referenced in FBI-MAIN-0003445. As we
discussed during our October 3 call, two spreadsheets we received from the government
reference some of the responsive WhatsApp and Telegram messages that have not been
produced. See FBI-00119931 and FBI-00000004. The only WhatsApp and Telegram messages
we received were a few that were attached to Mr. Andrade’s Treasury Complaint. If you
believe that you have produced others, please point them out to us.

       We have not received any of the bitcointalk and protonmail email communications to
or from UCE-8148/8149 (Req. #18). See FBI-UC-000035 (FBI report states that OCE-8149
had set up a bitcointalk account and a protonmail account) and FBI-UC-000036 (FBI report
states that OCE-8149 posted a comment on bitcointalk.org, encouraging investors to
consolidate their concerns about AML Bitcoin and providing a protonmail address to use for
that purpose). Any of the OCE’s communications on bitcointalk or protonmail that relate to
Mr. Andrade or AML Bitcoin are material to the preparation of Mr. Andrade’s defense. Nor
have we received any email notifications from either UCE 8148/8149 and/or Ben Boyer from
the Discord group as referenced in FBI-GJ-0006067 and FBI-GJ-0006073 (Req. #19). As we
discussed on October 3, Discord has a cover page (like Facebook), but also has direct
messages. The OCE was in a Discord group, and the OCE’s Discord name was Modern
Reboot. We have not received any of the actual chats, email notifications, or communications
between the OCE and other group members. Instead, we have received just a cover page
showing that the Discord group existed. The sum total of chats we received were the three
days of a Discord chat that were attached as exhibits to Mr. Andrade’s lawsuit against Maurice
Masiitwa in Nevada. During our call, you said that you are confident that the agents informed
you there were no individualized communications with the OCE on the Discord chats.
However, contrary to what your agents have told you, there were individualized
communications with the OCE on those discord groups. If your agents do not provide you
with any, then we will provide evidence of those communications to the court, ex parte.

       We have not received the email communications (including Discord) between
Benjamin Boyer and Masiitwa, referenced in FBI-GJ-0006073 and FBI-GJ-0006074 (Req.
#20). You agreed during the call to look for those email communications and produce them.
In response to Request #21, we received a text message dated May 4th, 2018 between
Benjamin Boyer and Japheth Dillman, as referenced in FBI-GJ-0009659, but the attachment
was not included. Please provide the attachment, which we believe is a transcription of an
FBI recording.

1
  Because the government has not imaged most of the 18 devices seized from Mr. Andrade’s house and office, we will
arrange to have someone image the devices while they are still in your possession. We will discuss details with you as soon
as we have worked through the logistics of, and funding for, having the devices imaged.
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        We requested all recordings related to the FBI’s mobile application recording device
that recorded a call between Benjamin Boyer and Mr. Andrade on May 30, 2019, as referenced
in FBI-302-000139 (Req. #22). The government produced only the recording referenced in
the 302 we cited. We asked the government to produce all the additional recordings of Boyer
as well as recordings of others who used the FBI mobile application in connection with the
government’s investigations of Mr. Andrade. Any such recordings on the FBI’s mobile
application are material to the preparation of his defense. Notably, the sole Boyer recording
you produced is not even included on the list of recordings you have provided (ID1-ID76),
and that list is missing other recordings as well.

March 7, 2022 Discovery Letter

         We requested the criminal history of Jack Abramoff (Req. #1). We have not received
anything relating to his criminal history from the District of Maryland, DOJ, or the Southern
District of New York. You stated during our October 3 call that 1) criminal history includes
only rap sheets, not any reports and transcripts of Abramoff’s testimony, and 2) our request
is premature because you have not yet decided whether Abramoff will testify. Please consider
this letter a request for all material relating to Abramoff’s criminal conduct and deceit,
including but not limited to reports of statements and transcripts of testimony of Abramoff.
We disagree that our Abramoff requests are premature. Abramoff’s prolific criminal conduct
and deceit not only is impeachment material, but also is part of Mr. Andrade’s defense and is
exculpatory. We are entitled to it now, so that we have time to investigate it, locate witnesses
to it, and understand it before trial. Relatedly, we have not received any copies of statements
Jack Abramoff made regarding the NAC Foundation, AML Bitcoin, and Mr. Andrade (Req.
#2). For the same reasons, we are entitled to those now as well.

        We have not received any of the statements made by Maria Butina, or any documents
provided by or taken from Butina, relating to Abramoff, the NAC Foundation, AML Bitcoin,
and/or Mr. Andrade. (Req. #3). The government’s position has been that you are not aware
of any substantive connection between Butina and the case against Mr. Andrade. 2 However,
as we discussed during our October 3 call, FBI agents Quinn and Wynar are well aware of the
connections between Butina and Mr. Andrade’s case. In the recording of a conversation with
Abramoff at his home on September 13, 2018, Agent Quinn states that he found “a number
of things” relating to Andrade’s AML Bitcoin when searching Butina’s home and took
“extensive notes” on what was found. (Recording ID-39, 58:00-59:00). Furthermore, as we
discussed, Butina appears to have purchased AML Bitcoin through, inter alia, a Landfair Capital
account that also held money from Paul Erikson, Abramoff, and NAC Payroll. Statements
made by Butina, and documents she provided to the government, are material to the
preparation of Mr. Andrade’s defense.


2
    Email dated May 23, 2022, from AUSA Dawson to King & Spalding attorney Luke Roniger.
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        Similarly, we have not received any of the statements made by Paul Erikson, or any
documents provided by or taken from Erikson, relating to Abramoff, the NAC Foundation,
AML Bitcoin, and/or Mr. Andrade. (Req. #4). The government’s position has been that you
are not aware of any substantive connection between Erikson and the case against Mr.
Andrade. However, evidence you have produced indicates that Erickson had knowledge of
the documents that were located in Butina’s house and that Abramoff made statements to
Erickson regarding Andrade and AML Bitcoin. As we discussed on our call, Erikson, like
Abramoff and Butina, had money in the same Landfair Capital account that Andrade’s NAC
Payroll used and that was ultimately used to purchase AML Bitcoin. During the 2018 interview
of Abramoff at his home, Agent Wynar refers to this account as the “Money Connection” –
the account that connects the people the agents were asking Abramoff about (e.g., Erikson,
Butina, and Andrade). See Recording ID-39 (57:24). The recorded interview of Abramoff also
reflects that FBI Special Agent Wynar saw transactions where Erickson was using Abramoff’s
credit card (7:28) and that Erickson triggered the investigation into Abramoff (4:35) (Agent
Wynar to Abramoff: “[T]he gentleman that uh sort of triggered our engagement of you is …
Paul Erikson”).

        You also have taken the position that the FBI 302s written by FBI Supervisor, Agent
Leanna Saler, relating to Jack Abramoff and AML Bitcoin, are not relevant to this case (Req.
#5). Your email response to this request stated that Saler “was not involved in the present
investigation.” 3 However, as soon as FBI agents arrived at Abramoff’s home in September
2018, he tried to call Saler. Abramoff told the agents that Saler was “on his case.” See
Recording ID-39 (2:20-4:00). The relationship between alleged co-conspirator Abramoff and
the FBI is material to the preparation of Mr. Andrade’s defense. We are entitled to any of
Saler’s 302s that relate to Mr. Andrade, AML Bitcoin, Abramoff.

        We have not received any of the investigation files and reports from the DOJ (including
the USAO in Houston) and the SEC, relating to any investigation of the NAC Foundation
and Mr. Andrade between 2015 and 2017, as referenced in FBI-302-000662 (Req. # 7). With
respect to the Texas investigations, you emailed us in May 2022 that you “are aware of two
separate FBI investigations potentially related to Mr. Andrade” and said that you “will produce
the FBI case files for those investigations.” 4 We have not received those files. We have only
a few 302s that summarize some of the documents the FBI agents reviewed. With regard to
the SEC reports and investigation work related to Mr. Andrade (Req. # 7), you stated in your
May email that you “do not have access to SEC documents.” 5 And, during our October 3
call, you asserted that the SEC’s investigation was separate from and parallel to the DOJ’s
investigation and that you would not know who to reach out to for the relevant SEC
investigative files. But your own press release announcing the indictment in this case states
that the criminal prosecution of Mr. Andrade was the result of an investigation assisted by the

3
  Id.
4
  Id.
5
  Id.
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SEC, 6 and the SEC’s press release announced that the “SEC’s investigation was conducted by
Alice Liu Jensen of the Enforcement Division’s Market Abuse Unit.” 7 We have seen several
examples of FBI 302s that summarize interviews conducted jointly by the FBI and Alice
Jensen of the SEC. See, e.g., 302s for Hung Tran (FBI-302-005197), Warren Cully (FBI-302-
010013), and Melissa Foteh (FBI-302-005224). Your excuse for not complying with this
portion of Request #7 is untenable.

        We have not received documents sufficient to reflect all cooperation or plea
agreements, written or oral, entered into with individuals in connection with this case or other
investigations relating to Mr. Andrade (Req. # 9). For example, during our call on October
3, you stated that the government had no cooperation agreement with Ben Boyer; however,
Agent Quinn wrote in a 302 that on May 6, 2019, he “interviewed Ben Boyer under the terms
of a cooperation agreement at the United States Attorney’s office located [in San Francisco].”
See FBI-302-004866. Your colleague, AUSA Lloyd Farnham attended the interview. In
addition, Jack Abramoff stated in the 2018 interview at his home that he was a cooperator. See
Recording ID-39 (1:52) (“The last time I cooperated uh I gave everything over which I’m
willing to do now. I’m a cooperator.”). We have not received a copy of either of these
cooperation agreements, which suggests that your search for such agreements in connection
with this case needs to be expanded.

       At the end of our March 7 discovery letter, we provided a list of individuals whose
NSA and DOJ files may contain exculpatory evidence pertaining to Mr. Andrade. We reiterate
our request that you review these files for exculpatory evidence and promptly produce any
information to which Mr. Andrade is entitled under Brady v. Maryland, 373 U.S. 83 (1963).

May 10, 2022 Discovery Letter

        We have not received 302s, recordings, or other documents regarding the agreements
with ComplyAdvantage and Global Visions Solutions relating to AML Bitcoin, Aten Coin, or
transaction data or technology relating to AML Bitcoin or Aten Coin (Brady Req. #5). Nor
have we received the transaction monitoring data that was taken from ComplyAdvantage that
relates to the monitoring of all AML Bitcoin transactions (Brady Req. #6). As we discussed
during our October 3 call, we understand that FBI Special Agent Wynar contacted and
interviewed Angela Generosa, who worked for ComplyAdvantage and was assigned to manage
AML Bitcoin’s account. You have taken the position in the past that the name “Generosa”
does not appear in the case file; however, records seized from Mr. Andrade’s office include an

6
 DOJ Press Release, Lobbyist Jack Abramoff And CEO Rowland Marcus Andrade Charged With Fraud In Connection With $5
Million Initial Coin Offering Of Cryptocurrency AML Bitcoin (June 25, 2020), available at https://www.justice.gov/usao-
ndca/pr/lobbyist-jack-abramoff-and-ceo-rowland-marcus-andrade-charged-fraud-connection-5

7
  SEC Press Release, Press Release, SEC Charges Issuer, CEO, and Lobbyist With Defrauding Investors in AML BitCoin (June
25, 2020), available at https://www.sec.gov/news/press-release/2020-145
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agreement between Mr. Andrade and Generosa regarding her work for AML Bitcoin. See FBI-
00024101. We therefore ask that you check again with your agents and have them provide you
a copy of Generosa’s 302 (if one exists), or of Agent Wynar’s notes of his interview of
Generosa, so that you can produce that material to us. Please also confirm that you have
produced the ComplyAdvantage and other documents she provided to the government. We
also request any additional 302s (or notes) responsive to this discovery request. We should
not be limited to receiving 302s, agent notes, or Brady material only if our investigation shows
that they exist, and we should not have to call the material out for you.

       We have not received all of the documents relating to Telegram and Discord channels
and accounts relating to AML Bitcoin, the communications from other private groups the
UCEs created and participated in, and similar documents (Discovery Req. #6). You have
provided screen shots of cover pages but not the other channels. On October 3, you agreed
to check again for these. Please ensure that all of the documents requested in #6 have been
produced. We have seen documents indicating that at least some of the UCEs also used
Telegram and Facebook chatrooms and other forms of communication.

       We believe that there are several undercover operations relating to our client for which
we have not received any documents (Discovery Req. #10). For example, we have received
no documents relating to undercover operations relating to our client that involved Joe Ortiz,
John McAfee, Shailendra Maheshwari, and others who were posing as investors. This is both
Rule 16 and exculpatory material that should already have been produced.

July 15, 2022 Discovery Letter

        You have responded generally to several of our requests by stating that the information
we seek is not relevant to your investigation (see, e.g., Req. ## 2, 3, 12, 14, 15, and 16). 8 Our
position is that the requested information is material to the preparation of Mr. Andrade’s
defense under Rule 16, and also Brady and Giglio material. 9 It appears that the government
gathered information responsive to these requests as part of its investigation of Abramoff, Mr.
Andrade’s alleged co-schemer, and that alone should suggest its materiality to the preparation
of Mr. Andrade’s defense. We discussed the materiality of much of the requested material to
Mr. Andrade’s defense during our October 3 call, and we have cited documents above to
demonstrate the materiality of the requested documents to our preparation of Mr. Andrade’s
defense. For example, Recording ID-39, a two-hour recording made by Agents Wynar and
Quinn when then spoke with Abramoff at his home in September 2018, is cited six times
above, including to demonstrate that Butina and Erikson are material to our preparation of
Mr. Andrade’s defense. If needed, we will explain the materiality in greater detail to the court,
ex parte.


8
    Letter dated August 9, 2022, from AUSA Dawson to King & Spalding.
9
    Letter dated August 26, 2022, from Kerrie Covell Dent to AUSAs Dawson and Weingarten.
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       Based on your relevance objections, you have not produced Alexander Levin’s mobile
device, or anything extracted from it, or his iPhone and iPad that were seized by the
government sometime between October 2019 and April 2020 (Req. #2). Levin invested
money in Landfair Capital that was then used to purchase AML Bitcoin. In addition,
documents the government has produced reflect that Abramoff worked with Levin on a “TV
show, crypto, and Landfair” (no Bates number), and Abramoff’s phone data reflects that Levin
and Abramoff communicated frequently, including regarding AML Bitcoin. Levin’s dealings
with Abramoff are material to developing Mr. Andrade’s defense, including all dealings relating
to AML Bitcoin, Landfair Capital, Landfair Capital Consulting, Block Bits Capital, and any
other Abramoff-associated companies.

        Similarly, also on relevance grounds, you have not produced Maria Butina’s phone data,
any documents seized from Butina’s home relating to Andrade or AML Bitcoin, or any 302s
or other reports that reference the materials seized from Butina’s home that are related to
AML Bitcoin or Mr. Andrade (Req. #3). As we discussed in our October 3 call, and as set
forth in more detail above in relation to Request #3 of the March 7 discovery letter, Butina is
material to the preparation of Mr. Andrade’s defense.

      We have not received any transcripts, memoranda, or recordings of witness statements
and/or interviews prepared by the SEC relating to NAC, Mr. Andrade, AML Bitcoin, AML
Token, AtenCoin, or Jack Abramoff (Req. #8). For the reasons set forth above regarding
Request #7 of our March 7 discovery letter, we are entitled to that material.

        The government produced documents relating to Leslie Katz (Req. #11), but there is
still some confusion about whether we have them all. During our October 3 call, you stated
that you believe you have produced all responsive documents. We agreed that I would explain
why we think some documents may be missing so that you could point us in the right direction.
The government’s letter dated August 9, 2022, indicated that the Leslie Katz documents were
produced and included FBI-302-5235 to FBI-302-5246. But our understanding is that the
referenced document is a single document and does not reference Leslie Katz. The
government’s September 6, 2022, letter states that Katz’s lawyer produced more than 1500
Bates-numbered pages, 10 and that you have produced all of these materials as FBI-GJ-0000656
to 0001150. However, the Bates range you cite is far fewer than 1500 pages. Please look into
this and clarify the Bates number discrepancy (i.e., how are more than 1500 pages from Katz’s
lawyer being produced as 494 pages by the government?).

        We have not received the search warrants, subpoenas, and fruits of subpoenas that
reference AML or Mr. Andrade (Req. #12). The government states in its August 9, 2022
letter that many of the names listed in Request #12 are not relevant to this case. Not so. All

10 The parties agree that, based on her lawyer’s March 10, 2020, transmittal letter accompanying her production in response

to a grand jury subpoena (FBI-GJ-0001123), Ms. Katz has produced more than 1500 pages of documents to the
government via a thumb drive (Bates-stamped LK000001 – LK001593).
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of the people and entities on the list have either direct or indirect ties with AML Bitcoin. For
example, a document we received in discovery confirms that NAC hired ICOBox and used its
Initial Coin Offering (ICO) platform. (No Bates number provided by the government). Alex
Moskovsky, Daria Generalova, Anar Babayev, Nickolay Evdokimov, Michael Raitsin, Gary
Baiton, Vladimir Sofrono, and others were associated with ICOBox. Others on the list --
including Richard Naimer, Dana Rohrabacher, Natko Vlahovic, Carlos De La Guardia, and
Ricardo “Catin” Vasquez were associated with NAC. See, e.g., FBI-302-005052, FBI-UC-
000030, FBI-00033297, FBI-00033314, FBI-00033404, and FBI-00053500. Abramoff was
involved in discussions about AML Bitcoin with some of the people and companies listed. See,
e.g., FBI-303-005586. Some of the individuals directly purchased AML Bitcoin Tokens.
Others purchased AML Bitcoins as Abramoff’s proxies. Still others, including Brian Darling,
Cory Lewandowski, and Turnberry Solutions, were directly involved in the NAC marketing
campaign. See, e.g., FBI-00085814, FBI-302-004928, FBI-GJ-0000349, and FBI-00083490.
We expect that the production we are requesting will show many additional connections. The
documents provided to the government by people who invested in AML Bitcoin, either
directly or indirectly, or by those who were involved in the NAC marketing campaign, are
material to the preparation of our defense. If necessary, we will explain the materiality in
greater detail to the court, ex parte.

        We have not received any CIA reports or communications from April 2015 to April
2022 that reference NAC, Mr. Andrade, AML Bitcoin, Aten Coin, AML Token, or Jack
Abramoff (Req. #14). In your August 9 letter, you indicated that you are not aware of any
relevant CIA documents. We believe that there are CIA documents related to AML Bitcoin,
Mr. Andrade, and Abramoff, and we ask that you please search for them. A few examples of
ties between the CIA and the government’s investigation of Mr. Andrade include: Paul
Erickson has publicly described himself as a CIA Asset; Richard Naimer, whom we understand
is an Israeli Intelligence Officer, told the FBI that Ben Dunn worked for the CIA (see FBI-
302-009989); and Mark Cowan, whose public profile indicates he worked for the CIA, was
involved through Abramoff in AML Bitcoin, along with Ed Feulner (see FBI-00088619). We
ask that you search for documents responsive to this request.

        You have not provided any Foreign Intelligence Surveillance Court applications (FISA)
or related materials in which NAC, Mr. Andrade, AML Bitcoin, Aten Coin, AML Token, or
Jack Abramoff are referenced, from January 2015 to May 2022 (Req. #15). In your August 9
response to this request, you state that you are “not aware of any FISA applications or related
materials that are relevant to this case” and that we are “free to let [you] know at any time” if
we have information that they do exist. Our position is that we are not required to “know”
that a particular document exists before the government’s obligation to search for documents
is triggered. As we discussed on October 3, and as we have set forth in more detail above,
Butina and Erikson are connected to this case. Their relationship with Abramoff is
documented in the case file, and they both put money into the Landfair Capital account that
held NAC’s money and that Agent Wynar described as the “Money Connection.” See
Recording ID-39 (57:24). It is public knowledge that Butina was charged with acting as an
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agent of the Russian Federation and now is a member of the State Duma as a member of
United Russia. Mr. Erickson received a target letter from the U.S. government for acting as a
foreign agent. We request that you search to see whether there are any FISA applications or
related materials that reference NAC, Mr. Andrade, AML Bitcoin, Aten Coin, AML Token,
or Abramoff.

        Finally, we have not received Paul Erikson’s mobile phone data, any documents taken
from him referencing AML Bitcoin, Andrade, Aten Coin, or NAC, or information showing
wrongdoing by Erikson (Req. #16). For the reasons we discussed in our October 3 call, and
as set forth above in relation to Request #4 of our March 7 discovery letter, we believe that
the government’s investigation into Erikson is material to the preparation of Mr. Andrade’s
defense. If necessary, we will explain the relevance in greater detail to the court, ex parte.

        In response to your suggestion during our October 3 call, we have combined in this
letter numerous outstanding discovery requests from our discovery letters dated March 3,
March 7, March 10, and July 15, 2022. We also have gone above and beyond by citing to
documents that hopefully will assist in your understanding of why the documents and other
materials we have requested are material to our preparation of Mr. Andrade’s defense. Many
of the discovery requests referenced above have been pending for more than seven months.
And additional lapses in discovery remain, including that we still have not received the 55 GB
of Jack Abramoff’s emails. The case is complex. It involves a substantial number of
documents and recordings and the conduct of many individuals, including that of several
convicted felons. The government has charged our client with serious crimes, and we are
entitled to the timely production of documents material to our preparation of his defense.
Preparation of a defense in a complex case takes time, and your approach of pushing for a
trial date while withholding and not searching for discovery is prejudicing that preparation.
Please respond by Friday, October 21, 2022, with a schedule for producing the documents
and materials discussed above. If there are requests for which we do not receive responsive
documents, or a reasonable schedule for producing them, then we will file a motion to compel
the following week.

       If you have any questions, please don’t hesitate to call or email me.


                                                  Sincerely,


                                                  /s/ Kerrie C. Dent
                                                  Kerrie C. Dent
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From: Dawson, Andrew (USACAN) <Andrew.Dawson@usdoj.gov>
Sent: Saturday, October 29, 2022 1:09 AM
To: Kerrie Dent <KDent@KSLAW.com>; Mike Shepard <mshepard@kslaw.com>
Cc: Weingarten, Ross (USACAN) <Ross.Weingarten@usdoj.gov>
Subject: Responses to Oct. 14 Discovery Letter

CAUTION: MAIL FROM OUTSIDE THE FIRM
Hi Kerrie et al. –

In an effort to clarify the areas of remaining dispute in light of upcoming motion practice, I have
compiled responses to the issues raised in your October 14, 2022 email. Apologies for doing so by
email, but I wanted to be sure to get you our response before the weekend. Ross is still in trial, and I am
still catching up on developments from when I was in trial last month.

March 3, 2022 Letter:

Request 14, Cellebrite file: We are confused about this request. Your letter states that we have not
produced the “full” Cellebrite file, and suggests there is missing material related to WhatsApp and
Telegram messages. If the Cellebrite report does not contain those messages, that is because they were
not seized. There is no separate, “complete” Cellebrite file. The WhatsApp and Telegram messages you
refer to (FBI-00119931 and FBI-00000004) are pen register data, and that data does not include the
substance of any communications. The spreadsheets do not reflect what was found in the course of any
search warrant. Regardless, we are finalizing production of the actual images made of all extracted
devices. Those images are of course broader than what we were authorized to seize pursuant to the
terms of any warrant (which then would show up in a Cellebrite report), so they will include additional
data.

Requests 18 and 19, UCE communications: These materials will be included in the upcoming
production from the FBI’s physical file. We will flag where to find them.

Requests 10 and 21: We do not have the requested materials. We were provided some emails sent to
Ben Boyer (which your letter cites to), but we do not necessarily have everything that is referred to in
those emails. For the email with the missing attachment, we were not provided the attachment.

Request 22, mobile application recordings: We do not believe there are any other calls by Boyer in the
FBI mobile application. However, we will prepare and produce a new set of all recordings from the FBI
mobile application in order to ensure we are not missing anything. Due to technical issues within the
FBI, these recordings were not categorized within ELSUR subfile. That is why they were not on the list of
1D numbers (which is an ELSUR numbering convention).

March 7, 2022 Letter:

Requests 1 & 2, Abramoff criminal history: As you know from the criminal history we produced, Mr.
Abramoff has a criminal history. Obviously, the government will produce all materials called for by
Giglio. Your request for “all material relating to Abramoff’s criminal conduct” is enormously
overbroad. We will, however, produce reports of Abramoff’s statements from his prior prosecution and
transcripts of any testimony related to that prior prosecution. As for Abramoff’s statements in this case,
we have produced 302s of his interviews. Please see FBI-302-002089 and FBI-302-005432.
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Request 3, Butina: The agents reviewed Butina’s 302s (from a separate investigaiton) and found no
references to Mr. Andrade. Her only statement in a 302 about AML Bitcoin was that she was aware that
Erickson had meetings with Abramoff regarding AML Bitcoin. She asked Erickson if she should meet
Abramoff since she had an interest in bitcoin, but Erickson said she did not need to meet him. My
understanding is that agents found marketing materials for AML Bitcoin during the search warrant, but
we are aware of no evidence that Butina ever purchased AML Bitcoin or had any substantive
involvement with AML Bitcoin. We are preparing a new report that will contain images of the marketing
materials and notes believed to have been taken by Erickson that were seized at Butina’s apartment.

You suggest that Butina appears to have purchased AML Bitcoin through a Landfair Capital
account. Landfair Capital is an account associated with Abramoff that was used for a variety of
purposes, and it is simply not the case that all the money in that account was associated with AML
Bitcoin. For example, there are transfers from Erickson to Landfair, but those are associated with an
entirely distinct lobbying effort.

Request 4, Erikson: Agents reviewed 302s related to interview(s) of Paul Erikson and did not find any
references to AML Bitcoin or Andrade. As noted above, we will be preparing and producing a new
report that will contain images of the marketing materials and notes believed to have been taken by
Erickson that were seized at Butina’s apartment. The statement during Abramoff’s interview that
Erikson “triggered” the FBI’s investigation was a ruse used in the course of the interview. Erikson and
Abramoff had a preexisting relationship and did other work together, but we have no reason to believe
he ever purchased AML Bitcoin. The separate investigation into Paul Erikson concerned other
conduct. Erikson is not an anticipated witness at trial, so there is no Giglio obligation.

Request 5, SA Saler: As we have previously explained, Agent Saler was not involved in the present
investigation into Mr. Andrade or Mr. Abramoff. She was assigned to the prior investigation of Mr.
Abramoff, which dates back many years. You are correct that Mr. Abramoff called her, as he had a
preexisting relationship with her, but that does not mean she had any role in the present investigation.

Request 7, prior DOJ investigations relating to Andrade: We have pulled the FBI investigative files
related to two prior investigations relating to Mr. Andrade, and we were under the understanding that
they had been produced. I now have a duplicate copy of those files, and we will process them for
production. My understanding is that they are not voluminous.

Request 7, parallel SEC investigation: The SEC is an independent agency. We do not have access to
their files. Your letter alleges that, as to the SEC’s parallel investigation, I stated that I “would not know
who to reach out to for the relevant SEC investigative files.” That is false. I said the opposite—that I
would be happy to reach out to ask the SEC if it was willing to produce materials related to Mr. Andrade
from its parallel investigation. The harder question is the earlier SEC investigations referred to in your
letter (from 2015 and 2017), which I know nothing about. For those, I would not know whom to reach
out to.

I have now reached out to Alice Jensen regarding their files in the SEC’s parallel investigation, and she is
considering the request. My understanding is that they may have some bank records. Your request is
so broad that it would appear to encompass SEC attorney work product, which I can only assume they
will not produce. Nor would you be entitled to it. I will also inquire of her if she is aware of any other
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prior SEC investigations into Andrade and his activities. If you have any other details that might help us
identify the investigation or investigations, please let us know.

Request 9, cooperation or plea agreements: First, as to Ben Boyer, he has not entered into a
cooperation agreement with the United States. The reference in your letter to Agent Quinn’s 302
appears to be referring to a proffer agreement, though Agent Quinn referred to it as a cooperation
agreement. The agreement itself does not contain any obligation to cooperate. I have attached it
here. Second, as to Jack Abramoff, we will produce his plea agreement in this case, and his plea
agreement from his prior case. The plea agreement from his prior case is, in fact, publicly
available: https://www.wsj.com/public/resources/documents/Abramoff-plea-deal01032005.pdf

Omnibus NSA and DOJ files request: There are various problems with this request. First, NSA materials
are typically classified. I don’t know why you think I would be able to produce them outside the
strictures of CIPA. Second, it is unclear what “DOJ files” refers to. So far as I am aware, the Department
of Justice does not simply maintain “files” on people. Are you referring to FBI investigations implicating
those individuals? What makes you think they are at all relevant?

May 10, 2022 Letter:

Brady Requests 5 and 6, re Comply Advantage and Global Visions Solutions: The agents searched the
case file again, and SA Wynar searched his emails, but they have not discovered any evidence of an
interview or of a 302. It is possible that Agent Wynar contacted Generosa at some point in the course of
the investigation, but he does not recall any formal interview and there is no documentary evidence that
one occurred. The name “Generosa” does not appear in the case file. The agents are not away of any
material being “taken” from Comply Advantage.

Discovery Request 6, Telegram and Discord channels and accounts: Materials responsive to this
request are being processed for production now.

Discovery Request 10, UC operations: We have produced, or are in the process of producing, all
discoverable materials regarding the UC operation in this investigation. The upcoming production will
have a recording involving Joe Ortiz. I spoke with the agents again and we are not aware of any
connection between John McAfee and Shailendra Maheshwari and this case. Are you under the
impression they made recordings?

July 15, 2022 Letter:

Request 2, Levin’s mobile device: Our case agents have requested access to the case file relating to
Alexander Levin and they will run searches for responsive materials.

Request 3, Butina materials: Please see above re Request 3 from the March 7 letter.

Request 8, SEC transcripts, memoranda, or recordings: As noted above, we have reached out to the
SEC to request production of responsive materials. I note, however, that we are not aware of any SEC
depositions, so we doubt there are any transcripts or recordings. In addition, my understanding is that
any memoranda prepared by the SEC would likely be prepared by an attorney, and would thus be
protected work product.
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Request 11, Katz documents: AUSA Weingarten is currently in trial, but my understanding is that these
were re-produced again after the August 9 production. I will check with him regarding the timing /
bates range.

Request 12, various search warrants: There are no search warrants in the case file that were issued to
the listed parties. If there are other investigations in which search warrants were served on those
individuals, there is no basis to believe those investigations have anything to do with AML Bitcoin.

Request 14, CIA materials: My understanding is that CIA materials are typically classified. If you believe
classified materials are relevant, you will need to comply with CIPA.

Request 15, FISA materials: We are not aware of any relevant FISA material, and the allegation that a
Russian citizen was obliquely related to individuals relevant to this case does not entitle the defendant
to a fishing expedition in classified materials.

Request 16, Erikson materials: As noted above, the agents have conducted searches of the Erikson
investigative file, and the results are recounted above.

Thanks,

-- Andrew




-----------------------------------------
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  Declaration of Kerrie Dent - Exhibit 6
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March 3, 2022

Via Electronic Mail

Andrew Dawson
Ross Weingarten
Assistant U.S. Attorneys
United States Attorney’s Office
450 Golden Gate Ave, Floor 11,
San Francisco, CA 94102

Re: United States v. Andrade, No. CR20-249 RS

Dear Mr. Dawson and Mr. Weingarten,

       We write to further our ongoing discussions regarding discovery in this case. As you
know, following our appointment as counsel for Marcus Andrade in the above-captioned case,
on November 4, 2021 we received from your office a hard drive containing 153.4 GBs of data,
representing approximately 242,451 pages of discovery materials and additional native files such
as audio and video recordings and spreadsheets.

         We have been diligently reviewing these materials, and despite these efforts we have
been unable to locate certain documents and data we believe we are entitled to, pursuant to
Federal Rule 16 of Criminal Procedure and Brady v. Maryland, 373 U.S. 83, 87–88 (1963). A
list of these materials is provided below. Most of these materials are referenced directly in
documents produced by the government. Certain of these materials were also specifically
referenced in our February 16, 2021 meeting, and others are referenced as attachments to
material already produced. We expect that all the items we are requesting are already within the
government’s possession. Given that a large portion of the government’s production is not text-
searchable, it is possible that these materials are within the files previously provided, but after a
reasonable and rigorous search by counsel and our e-discovery vendor, we remain unable to
locate the items listed below.

        Accordingly, we respectfully request that you identify the Bates numbers associated with
the specific materials below in order to effectuate our ability to fully review the discovery. If
any of the materials below have not yet been produced, we request that the government produce
them as soon as possible. To the extent possible, we request that the documents and data listed
below be produced in text-searchable form, which will allow us to more efficiently process your
production. Separately, to the extent any materials are more suitable as native files—e.g., images
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of individuals’ cellular devices or laptops, audio recordings, thumb drive contents, and so on—
we can provide mailing instructions for a hard drive or other storage device.

Specifically, we seek the following materials, including all attachments and family members:

   1. Search warrant application and affidavit issued to Google for email address
      ceo@amlbitcoin.com issued on July 31, 2019 by Judge Thomas S. Hixson in the Northern
      District of California.
   2. Full contents of the thumbdrive obtained from the Jodoins, as referenced in FBI-302-
      001958 and FBI-302-001857.
   3. Contents of DVD and related files for jbryan@watley.com, as referenced in FBI-302-
      007326.
   4. Google Drive documents and spreadsheets as referenced in FBI-302-005015.
   5. Contents of DVD containing “mbox files”, as referenced in FBI-302-007153.
   6. Contents of DVD referenced in FBI-GJ-0002901.
   7. Materials from Kenji Kuramoto, CEO of Acuity, as referenced in FBI-GJ-0011743 and
      FBI-GJ-0011744.
   8. Blockchain presentation and related files from January 31, 2018 involving UCE7410;
      Japheth Dillman; Fiona Ma; Gary Baiton; Hu Liang; JonathanNelson; Maria Sendra; Alexa
      Lopez; and others unidentified, at 1900 University Avenue, East Palo Alto, CA 94303, as
      referenced in FBI-MAIN-0000221.
   9. Covertly recorded interviews with Beau Rothschild, Brian Darling, Peter Ferrara, James
      Kahrs, and Chase Kroll on May 6, 2019 and May 7, 2019 in Washington D.C. and Northern
      Virginia, as referenced in FBI-MAIN-0000918.
   10. Contents of DVD containing January 25, 2018 texts between Marcus Andrade and UCE-
       8026-SAC, as referenced in FBI-MAIN-0000946. Please also confirm whether a recording
       exists from any phone call between Marcus Andrade and an under-cover agent that took
       place on January 25, 2018.
   11. Landfair Capital Consulting, Blockchain Entertainment, and Cryptitude Entertainment
       production in response to the grand jury subpoena issued to those entities on September
       12, 2018, as referenced in FBI-GJ-0012387.
   12. Search warrant with supporting application and affidavit issued on or around November
       12, 2019 and executed at 2700 W. Atlantic Blvd, Suite #202 Pompano Beach, Florida, as
       referenced in FBI-00000022
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   13. Personal devices collected from Jack Abramoff, as referenced in FBI-MAIN-0001046;
       FBI-MAIN-0001049; FBI-MAIN-0000912; FBI-MAIN-0000970; FBI-MAIN-0000971;
       and FBI-MAIN-0003240. These items may include but are not limited to—
         a. SVE056536 (1B4) – 256 GB PNY USB Thumbdrive, containing two extractions
            of an iPhone 5 (model MG4U2, s/n F78NVF34G5ML, IMEI: 356991061628533,
            MSISDN: +1 (202) 236-9706, owner name: Jack's iPhone 5a, Apple ID:
            jack@abramoff.com)
                 i. Including Excel reports of messages from SVE056536 is SVE058604.
                ii. Photographs or video recordings of Abramoff’s cell phone, as referenced in
                    FBI-MAIN-0000619.
         b. SVE056528 (1B5) - WD External HDD                    with   USB     cable,   model
            WDBAAU0020HBK-01, s/n WCAZA0646256T
         c. SVE056529 (1B5) - Asian Power Devices Power Adapter, model WA-18G12U
         d. SVE056524 (1B6) - Dell Inspiron Laptop, s/n JZHK6F2, containing:
                 i. SVE056789 - 500GB          Seagate   HDD,     model    ST500LT012,     s/n
                    5000C500A8B7F5D0
         e. SVE056525 (1137) - Asus UX3IE Laptop, s/n C2N0AS565570097, containing:
                 i. SVE056790 - 256GB SanDisk SSD', model SDSA5JK-256G, s/n
                    120331300850
         f. SVE056527 (1B8) - Dell Latitude 7480 Laptop, s/n CJTKWD2, containing:
                 i. SVE056762 - 512GB           SK    hynix     SSD,    model    SC311,    s/n
                    MS79N493310309C5K
         g. SVE056526 (1B8) - Superer Power Adapter, model GA195033
         h. SVE056530 (1B12-1) - 4TB Seagate External HDD, model SRD00F2, s/n
            NA7EFOQY
         i. SVE056532 (1B12-1) Power Adapter (no make), model ADS-18E-12B
         j. SVE056531 (1B12-2) - 4TB Seagate Backup Plus External HDD, s/n NA5L356C
         k. SVE056533 (1B12-2) - Power Adapter (no make), model ADS-18E-12B
         l. SVE056535 (1B13) - Oceana USB Thumbdrive
         m. SVE056538 (1B14) - 2TB Loose Seagate HDD, model ST2000DM00I, s/n
            WIE05X6F, containing a forensic image and memory capture of a Dell laptop
            (model XPS, service tag: 4Q6ZFC2, with internal 1TB PM951 NVMe Samsung
            SSD, model MZ-VLVITOD, s/n S2FZNXAH2O6509)
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          n. SVE056537 (1B29) - 2TB Loose WD HDD, model WD2002FAEX-007BAO, s/n
             WCAY01771014, which is a clone of SVE056538 (1B14)
   14. Personal devices collected from Marcus Andrade, including materials tagged for potential
       privilege and taint team review, as referenced in FBI-MAIN-0003438; FBI-MAIN-
       0003445; FBI-MAIN-0003446; FBI-MAIN-0003517. These items may include but are not
       limted to—
          a. SVE060371 (1B96) - Western Digital WD2500AAKS 250GB SATA HDD S/N
             WMARTI 173519; labeled "IRS-CID Electronics Crimes: Blackberry 8530 Curve
             II, LG500 & Motorola Moto G7"
                  i. SVE060731- Verbatim DataLifePlus 8.5GB dual layer DVD-R, minimized
                     report
                 ii. SVE060732 - Verbatim DataLifePlus 8.5GB dual layer DVD-R, minimized
                     report (duplicate)
                iii. SVE060733 - Verbatim DataLifePlus 8.5GB dual layer DVD-R, minimized
                     report (duplicate)
          b. SVE060368 (lB89) – blue Western Digital my Passport Ultra USB external hard
             drive (EHDD) Serial Number (S/N) WXNIA9856UL8
          c. SVE060369 (lB89) – red Western Digital My Passport USB (EHDD) S/N
             WX71A38215FE
          d. SVE060371 (lB96) – Western Digital WD2500AAKS 250GB SATA hard drive
             HDD S/N WMART1173519
          e. SVE060372 (lB97) – blue HP Stream 13 cOlOnr laptop S/N 5CD5023360
                  i. SVE060373 lB97 HP power adapter HSTNN DA40
          f. SVE060376 (lBI05) – Seagate Desktop SSHD 4000GB HDD S/N Z3014R4P
          g. SVE060377 (lBI05) – Western Digital WD2002FAEX 2 0TB SATA HDD S/N
             WMA Y05254504
          h. Full Cellebrite report from Marcus’s Motorola cellphone, as referenced in FBI-
             MAIN-0003445.
   15. All emails between Michael Witte and Marcus Andrade as referenced in FBI-302-006855.
   16. Full unredacted chat history of the messages that include UCE 8148 / UCE 8149 and
       others as referenced in FBI-00046181 & FBI-00034119.
   17. All bitcointalk and protonmail communications to or from UCE 8148 / 8149 as referenced
       in FBI-UC-000001.
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   18. All bitcointalk and protonmail email communications to or from UCE-8148 / 8149 as
       referenced in FBI-UC-000035 and FBI-UC-000036.
   19. All the email notifications in your possession from either UCE 8148 / 8149 and / or Ben
       Boyer from the Discord group as referenced in FBI-GJ-0006067 and FBI-GJ-0006073.
   20. All of the email communications between Benjamin Boyer and Maurice Masiitwa as
       referenced in FBI-GJ-0006073 and FBI-GJ-0006074.
   21. Text messages and other communications, including attachments, on May 4th, 2018
       between Benjamin Boyer and Japheth Dillman as referenced in FBI-GJ-0009659.
   22. All recordings related to the FBI’s mobile application recording device that recorded a call
       between Benjamin Boyer and Marcus Andrade on May 30, 2019 as referenced in FBI-302-
       000139.
   23. Affidavit and application for the search warrant of Jack Abramoff’s residence issued on
       September 12, 2018, which is related to FBI-MAIN-0000695.
Please note that the above list is not exhaustive, and we will continue to communicate as we
encounter similar issues in the government’s production. In addition, we will also be sending a
separate letter with requests based on Brady v. Maryland, 373 U.S. 83 (1963).

We appreciate your attention to this request, and we are available to discuss any questions or to
coordinate your production as needed.


                                                    Sincerely,

                                                    /s/ Amy Hitchcock

                                                    Amy Hitchcock
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  Declaration of Kerrie Dent - Exhibit 7
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                                                                    King & Spalding LLP
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                                                                    San Francisco, CA 94105




March 7, 2022

Via Electronic Mail

Andrew Dawson
Ross Weingarten
Assistant U.S. Attorneys
United States Attorney’s Office
450 Golden Gate Ave, Floor 11,
San Francisco, CA 94102

Re: United States v. Andrade, No. CR20-249 RS

Dear Mr. Dawson and Mr. Weingarten,

        I write further to our ongoing discussions regarding discovery in the above-captioned case.
As we have noted in these discussions, we seek all potentially exculpatory and impeachment
materials within the government’s possession and/or control, pursuant to the government’s
obligations under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, the Fifth and Sixth
Amendments to the Constitution, and Federal Rule of Criminal Procedure 16. To aid the
government in fulfilling its obligation, we set forth below specific materials we believe are
potentially exculpatory or impeaching, and thus are necessary to the preparation of our defense
and the consideration of any settlement discussions.

        The records and information that we request include not only documents and information
in the possession, custody, or control of your offices, the Department of Justice (“DOJ”), and the
prosecution team, but also those in the possession or control of the Securities and Exchange
Commission (“SEC”), and any other law enforcement agency investigating Marcus Andrade, the
NAC Foundation, AML Bitcoin, or Jack Abramoff and his associates.

       We request the government to promptly produce the following documents and files:


   1. Criminal history of Jack Abramoff.
   2. A copy of all statements made by Jack Abramoff relating to the NAC Foundation, AML
      Bitcoin, and Mr. Andrade.
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   3. A copy of all statements made by Maria Butina, and any documents provided by or taken
      from Maria Butina, relating to Jack Abramoff, the NAC Foundation, AML Bitcoin, and
      Mr. Andrade.
   4. A copy of all statements made by Paul Erikson, and any documents provided by or taken
      from Paul Erikson, relating to Jack Abramoff, the NAC Foundation, AML Bitcoin, and
      Mr. Andrade.
   5. A copy of all FBI 302 files written by FBI Supervisor, Agent Leanna Saler, relating to Jack
      Abramoff and AML Bitcoin.
   6. Full email communication chain between FBI Agent Brenden Zartman, Michael Witte, and
      Mr. Andrade as referenced in FBI-302-006855, including but not limited to all emails
      between the FBI and Michael Witte.
   7. Complete copies of all investigation files and reports from the DOJ (specifically including
      the United States Attorney’s Office, in Houston, Texas) and the SEC, relating to any
      investigation of the NAC Foundation and Mr. Andrade between 2015 and 2017, as
      referenced in FBI-302-000662.
   8. Any relevant materials resulting from a review of an unredacted copy of Special Counsel
      Robert S. Mueller’s March 2019 Report (the “Mueller Report”) on the Investigation into
      Russian Interference in the 2016 Presidential Election. Specifically, please review for any
      information to which Mr. Andrade is entitled under Brady v. Maryland, 373 U.S. 83 (1963),
      as it relates to Maria Butina, Dana Rohrabacher, Jack Abramoff, Catharine O’Neill, Paul
      Erikson, Marcus Andrade, the NAC Foundation, AML Bitcoin, AML Token, and Aten
      Coin.
   9. Documents sufficient to reflect all cooperation or plea agreements, written or oral, entered
      into with individuals and that pertain to or affect in any way the above-captioned case or
      any investigations relating to Marcus Andrade.
   10. All materials seized in connection with the search of Abbe Lowell’s office.


Further, we have reason to believe that there may be exculpatory evidence pertaining to Mr.
Andrade located in National Security Agency (NSA) and DOJ files for the individuals listed below.
We request that you review these files for exculpatory evidence and promptly produce any
information to which Mr. Andrade is entitled under Brady v. Maryland, 373 U.S. 83 (1963).

       1. Jack Abramoff
       2. Gennadiy Bogolyubov
       3. Maria Butina
       4. Guli Chul
       5. John Crawford
       6. Brian Darling
       7. Carlos De La Guardia
     Case 3:20-cr-00249-RS         Document 120-2         Filed 11/28/22     Page 28 of 83

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Page 3


       8. Benjamin Dunn
       9. Paul Erickson
       10. Dmytro Firtash
       11. Rudolph Giuliani
       12. Halogen Communications
       13. Igor Kolomoisky
       14. Alexander Levin
       15. Corey Lewandowski
       16. Paul Manafort
       17. Richard Naimer
       18. Jason Osborne
       19. Lev Parnas
       20. Raymond Robertson
       21. Dana Rohrabacher
       22. Aaron Shaviv
       23. Vitaliy Skotsyk
       24. Alexander Torshin
       25. Yuri Vanetick
       26. Viktor Vekselberg


*****
        To the extent possible, we request that the documents and data listed above be produced
in text-searchable form. As with our previous discovery requests, to the extent any materials are
more suitable as native files—e.g., images of individuals’ cellular devices or laptops, audio
recordings, thumb drive contents, and so on—we can provide mailing instructions for a hard
drive or other storage device.

        Please note that the above list is not exhaustive, and we will continue to communicate with
any additional requests for documents to which Mr. Andrade is entitled pursuant to Fed. R. Crim.
P. 16, Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972)
and their progeny, the Jencks Act (18 U.S.C. § 3500 and Fed. R. Crim. P. 26.2), and any other
authority vesting defense rights in criminal discovery.

        We appreciate your attention to this request, and we are available to discuss any questions
or to coordinate your production as needed.
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                                        Sincerely,

                                        /s/ Luke Roniger
                                        Luke Roniger
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  Declaration of Kerrie Dent - Exhibit 8
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                                                                    Austin, TX 78701

                                                                    Luke Roniger
                                                                    Tel: +1 512 457 2044
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May 10, 2022

Via Electronic Mail

Andrew Dawson
Ross Weingarten
Assistant U.S. Attorneys
United States Attorney’s Office
450 Golden Gate Ave, Floor 11,
San Francisco, CA 94102

Re: United States v. Andrade, No. CR20-249 RS

Dear Mr. Dawson and Mr. Weingarten,

       I write on behalf of Defendant Marcus Andrade in connection with our ongoing discovery
discussions in the above-captioned case and to supplement the requests made in our previous
correspondence on March 3, 2022, March 7, 2022, and May 3, 2022. In particular, we wish to
supplement our previous request for prompt production of materials pursuant to Brady v.
Maryland, 373 U.S. 83 (1963) and its progeny, the Fifth and Sixth Amendments to the
Constitution, and Federal Rule of Criminal Procedure 16.

        The records and information that we request include not only documents and information
in the possession, custody, or control of your offices, but also documents and information in the
possession, custody, or control of the Department of Justice and any federal, state, or local agency
associated with the government team, including, without limitation, the Securities and Exchange
Commission (“SEC”), the Department of Justice (“DOJ”), the Federal Bureau of Investigation
(“FBI”), and any other law enforcement agency.

       Brady requests

       We request that the government produce the following documents and files in its
possession, custody, or control:

       1. All communications to or from Abbe Lowell concerning the investigation into Mr.
          Andrade, Jack Abramoff, or AML Bitcoin, including but not limited to any
          communications Abbe Lowell or his counsel had with the government relating to any
          investigation of Mr. Lowell.
     Case 3:20-cr-00249-RS        Document 120-2        Filed 11/28/22     Page 32 of 83

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       2. A privilege log relating to items removed from Jack Abramoff’s phone by any FBI
          Agent.

       3. Please disclose all UCEs and other government agents that were actively monitoring
          the development and the public beta testing through the AML Bitcoin public telegram
          accounts and NAC Foundation’s Chainbook account.

       4. Please provide all communications and screenshots taken from any social media or
          digital messaging platform, including but not limited to Telegram, Discord, or other
          private or public discussion board or forums, discussing or relating to the proper
          functioning of the underlying AML Bitcoin technology, and please identify all
          individuals that confirmed on any such social media or digital messaging platform they
          were successfully utilizing the AML Bitcoin technology.

       5. All 302s, recordings, and any other documents regarding the agreements with Comply
          Advantage and Global Visions Solutions relating to AML Bitcoin, Aten Coin, or
          transaction data or technology relating to AML Bitcoin or Aten Coin.

       6. A copy of all the transaction monitoring data that was taken from Comply Advantage
          that relates to the monitoring of all AML Bitcoin transactions.

       Other discovery requests

      Specifically, we request the government to identify the corresponding Bates numbers or
produce the following documents and files in its possession, custody, or control:

       1. A copy of the video and audio recording relating to the interview with Warren Cully as
          referenced in FBI-302-010013.

       2. A copy of the audio recording relating to the interview of Mark Diadamo as referenced
          in FBI-302-005278.

       3. Copies of all the recordings that the FBI has in its possession relating to
          communications between Mr. Andrade and his attorneys.

       4. A copy of known referenced recordings that are missing from the production, including
          the following recording IDs: ID-49 through ID-53, ID-59, ID-63 through ID-66, and
          ID-69 through ID-75.

       5. Any search warrants, their applications, and any subpoenas relating or directed to Mr.
          Andrade, NAC Foundation, Aten Coin, AML Bitcoin, and Mr. Andrade’s attorney Eric
          Oslen.

       6. All documents related to Telegram and Discord channels and accounts relating to AML
          Bitcoin. This includes, but is not limited to: all the screenshots that the government
          agents took from the AML Bitcoin telegram account from from October 2019 to April
          of 2021; all the communications from other private groups that the UCEs or other
     Case 3:20-cr-00249-RS         Document 120-2         Filed 11/28/22     Page 33 of 83

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Page 3


           government agents created or participated in for the purpose of discussing the AML
           Bitcoin project; the entire chat history involving UCE 8148 / 8149 and all other
           members of the discord group referenced in FBI-00034150; and all documents
           associated with the discord usernames included in FBI-00034150, including identities
           of any law enforcement and all communications involving those accounts.

       7. Full copies of any text messages to or from Carlos DeLaGuardia relating to the Panama
          Canal, the Panama Canal Authority, or AML Bitcoin.

       8. Full copies of the materials uploaded by Mr. Andrade to FBI Special Agent Ethan
          Quinn relating to the government’s investigation of Mr. Andrade and AML Bitcoin.

       9. A copy of the victim letters, along with any responses thereto, for Maurice Musiitwa,
          Steven Whitton, and Lisa Tippet.

       10. All documents relating to any undercover operation that attempted to contact or did
           contact Mr. Andrade in any way, including but not limited to any operation involving
           Bruce Heidleberg, John McAfee, David Mata, Shailendra Maheshwari, and/or John
           Bryan, and any documents relating to the approval of any such operations.

                                              * * *
        To the extent possible, we request that the documents and data listed above be produced
in text-searchable form. As with our previous discovery requests, to the extent any materials are
more suitable as native files—e.g., images of individuals’ cellular devices or laptops, audio
recordings, thumb drive contents, and so on—we can provide mailing instructions for a hard
drive or other storage device.

        Please note that the above list is not exhaustive, and we will continue to communicate with
any additional requests for documents to which Mr. Andrade is entitled pursuant to Fed. R. Crim.
P. 16, Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972)
and their progeny, the Jencks Act (18 U.S.C. § 3500 and Fed. R. Crim. P. 26.2), and any other
authority vesting defense rights in criminal discovery.

        We appreciate your attention to this request, and we are available to discuss any questions
or to coordinate your production as needed.

                                                    Sincerely,

                                                    /s/ Luke Roniger

                                                    Luke Roniger
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  Declaration of Kerrie Dent - Exhibit 9
     Case 3:20-cr-00249-RS          Document 120-2        Filed 11/28/22        Page 35 of 83


                                                                     King & Spalding LLP
                                                                     1700 Pennsylvania Avenue, NW
                                                                     Suite 900
                                                                     Washington, DC 20006
 Confidential
                                                                     Kerrie Covell Dent
                                                                     Tel: +1 202 626 2394
                                                                     kdent@kslaw.com



July 15, 2022

Via Electronic Mail

Andrew Dawson
Ross Weingarten
Assistant U.S. Attorneys
United States Attorney’s Office
450 Golden Gate Ave, Floor 11
San Francisco, CA 94102

Re: United States v. Andrade, No. CR20-249 RS

Dear Mr. Dawson and Mr. Weingarten,

        We write to supplement the requests we have made on behalf of our client, Marcus
Andrade, in the above-captioned case in our previous correspondence dated March 3, 2022, March
7, 2022, May 3, 2022, and May 10, 2022. Specifically, we wish to supplement our previous
requests for prompt production of materials pursuant to Brady v. Maryland, 373 U.S. 83 (1963)
and its progeny, the Fifth and Sixth Amendments to the Constitution, and Federal Rule of Criminal
Procedure 16.

        The records and information that we request include not only documents and information
in the possession, custody, or control of your offices, but also documents and information in the
possession, custody, or control of the Department of Justice and any federal, state, or local agency
associated with the government team, including, without limitation, the Securities and Exchange
Commission (“SEC”), the Department of Justice (“DOJ”), the Federal Bureau of Investigation
(“FBI”), and any other law enforcement agency (collectively, “the government”).

        Specifically, we request that the government produce the following documents and files in
its possession, custody, or control:
       1. Recording of the August 19, 2019 phone call between Agent Quinn and Mr. Andrade,
          as referenced in FBI-302-005032.
       2. Alexander Levin’s mobile device and any files extracted therefrom. This request also
          relates to Mr. Levin’s iPhone and iPad that was seized by the government between
          October 2019 and April 2020.
     Case 3:20-cr-00249-RS         Document 120-2        Filed 11/28/22     Page 36 of 83

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       3. Materials taken from the home of Maria Butina relating to Mr. Andrade, AML Bitcoin,
          and digital currency transaction networks; any 302s or other reports that reference the
          documents seized from Ms. Butina’s home; and Ms. Butina’s phone data.
       4. Any electronic records relating to Mr. Andrade’s income and digital transaction
          records.
       5. All documents or 302s relating to Peter Mirijanian.
       6. All documents or 302s relating to Natko Vlahovic.
       7. Any 302 where Corey Lewandowski is referenced in association with NAC, Mr.
          Andrade, AML Bitcoin, Aten Coin, AML Token, or Jack Abramoff between January
          2015 and May 2022.
       8. Any transcripts, memoranda, or recordings of witness statements and/or interviews
          prepared by the SEC relating to NAC, Mr. Andrade, AML Bitcoin, AML Token,
          AtenCoin, or Jack Abramoff.
       9. Recording of the conversation between Joe Ortiz and Agent Wynar, which occurred at
          Mr. Ortiz’s house.
       10. Skype communications between Mr. Andrade and Ms. Foteh involving the AML
           Bitcoin Super Bowl advertisement.
       11. All emails involving or referencing Leslie Katz, from 2016 to 2021, that relate to Jack
           Abramoff, Landfair Capital, Sugar Mountain Holding, LLC, NAC Foundation, LLC,
           AML Token, or anything related to Mr. Andrade, including LK000001-LK001593, as
           referenced in FBI-GJ-0000655.
       12. Any search warrants, including their underlying applications and affidavits, and all
           subpoenas and the fruits of all subpoenas that reference Mr. Andrade, the NAC
           Foundation, or AML Bitcoin issued to the following parties: Muzin Capital Partners;
           Ghost Management Group; Pangea LLC; Brian Darling and Darling Associates; Paul
           Erickson; ADI; Kroll Global; Rothschild Public Affairs; Erickson Group; Richard
           Naimer; Maria Butina; Global Strategic Communication Group; James George Jatras;
           Darren Spinck; James Kahrs; Charles Johnson; Turnberry Solutions; Dana
           Rohrabacher; Natko Vlahovic; Carlos Delaguardia; Chase Kroll; ICOBox; Alex
           Moskovsky; Daria Generalova; Anar Babayev; Nickolay Evdokimov; Michael
           Raitsin; Gary Baiton; Alex Prasic; Gladimir Sofrono; and/or Ricardo "Catin" Vasquez.
       13. Copies of all subpoenas and the fruits of all subpoenas issued to AppRiver or John
           Bryan regarding the email account of jbryan@watley.com, as referenced in FBI-GJ-
           0004907. We acknowledge that we received emails seized from jbryan@watley.com
           with the government’s June 28, 2022 production (FBI-PHY-099062 – FBI-PHY-
           108799).
       14. Any CIA reports or communications that the government may have obtained between
           April 2015 to April 2022 that reference NAC, Mr. Andrade, AML Bitcoin, Aten Coin,
           AML Token, or Jack Abramoff.
     Case 3:20-cr-00249-RS         Document 120-2         Filed 11/28/22     Page 37 of 83

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Page 3



       15. All Foreign Intelligence Surveillance Court (FISC) applications (FISA) and related
           materials in which NAC, Mr. Andrade, AML Bitcoin, Aten Coin, AML Token, or Jack
           Abramoff was referenced, from January 2015 to May 2022.
       16. A copy of the data the government seized from Paul Erikson’s mobile phone in April
           2018 and July 2018; any documents taken from him referencing NAC, Aten Coin,
           AML Token, AML Bitcoin, or Mr. Andrade; and any information showing any
           wrongdoing by Mr. Erikson, including wrongdoing that led to his being informed that
           he was a subject of an investigation for acting as an agent of a foreign government.
       17. The full investigative files of the Texas-based offices of the FBI and SEC from the
           investigation those agencies conducted of Mr. Andrade and his technology between
           2015 and late 2017.

        We request that, to the extent possible, the documents and data listed above be produced
in text-searchable form. As with our previous discovery requests, to the extent any materials are
more suitable as native files—e.g., images of individuals’ cellular devices or laptops, audio
recordings, thumb drive contents, and so on—we can provide mailing instructions for a hard drive
or other storage device.

       Please note that the above list is not exhaustive, and we will continue to communicate with
you regarding any additional requests for documents to which Mr. Andrade is entitled pursuant to
Fed. R. Crim. P. 16, Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S.
150 (1972) and their progeny, the Jencks Act (18 U.S.C. § 3500 and Fed. R. Crim. P. 26.2), and
any other authority vesting defense rights in criminal discovery.

        Finally, we want to remind you that we are still waiting for your response to our discovery
letter dated May 10, 2022. We would appreciate a prompt response, including a schedule for
production of materials not yet produced.

       We appreciate your attention to these requests, and we are available to discuss any
questions or to coordinate your production as needed.

                                                    Sincerely,
                                                    /s/ Kerrie Covell Dent

                                                    Kerrie Covell Dent
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 Declaration of Kerrie Dent - Exhibit 10




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 Declaration of Kerrie Dent - Exhibit 11




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 Declaration of Kerrie Dent - Exhibit 12




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 Declaration of Kerrie Dent - Exhibit 13




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 Declaration of Kerrie Dent - Exhibit 14




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 Declaration of Kerrie Dent - Exhibit 15




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 Declaration of Kerrie Dent - Exhibit 16




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 Declaration of Kerrie Dent - Exhibit 17




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Case 3:20-cr-00249-RS   Document 120-2   Filed 11/28/22   Page 46 of 83




 Declaration of Kerrie Dent - Exhibit 18




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 Declaration of Kerrie Dent - Exhibit 19




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 Declaration of Kerrie Dent - Exhibit 20




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 Declaration of Kerrie Dent - Exhibit 21




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 1    KING & SPALDING LLP
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 2     mshepard@kslaw.com
      50 California Street, Suite 3300
 3    San Francisco, California 94111
      Telephone:     +1 415 318 1221
 4    Facsimile:     +1 415 318 1300

 5    KERRIE C. DENT (Admitted pro hac vice)
       kdent@kslaw.com
 6    1700 Pennsylvania Avenue, NW, Suite 900
      Washington, DC 20006-4707
 7    Telephone:   +1 202 626 2394
      Facsimile:   +1 202 626 3737
 8
      Attorneys for Defendant
 9    ROWLAND MARCUS ANDRADE

10                             UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
12

13 UNITED STATES OF AMERICA,                            CASE NO.: 3:20-CR-00249-RS-LBx
14                       Plaintiff,
                                                        MANUAL FILING NOTIFICATION
15          v.
                                                        EXHIBIT 21 TO THE
16 ROWLAND MARCUS ANDRADE,                              DECLARATION OF KERRIE C.
17                       Defendant.                     DENT: RECORDING ID-39

18                                                      [UNDER VERSION SOUGHT TO BE
                                                        SEALED]
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      MANUAL FILING NOTIFICATION                                     CASE NO. 3:20-CR-00249-RS-LBx
      EXHIBIT 21: RECORDING ID-39
     Case 3:20-cr-00249-RS        Document 120-2          Filed 11/28/22     Page 51 of 83



 1                                MANUAL FILING NOTIFICATION

 2 Regarding:       EXHIBIT 21: Recording ID-39

 3 This filing is in physical form only, and is being maintained in the case file in the Clerk’s office.

 4

 5 For information on retrieving this filing directly from the court, please see the court’s main web

 6 site at http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

 7 This filing was not e-filed for the following reason:

 8             X           Non Graphical/Textual Computer File (audio) on USB drive.

 9

10

11 DATED: November 28, 2022                                KING & SPALDING LLP

12
                                                      By: /s/ Michael J. Shepard
13                                                        MICHAEL J. SHEPARD
                                                          KERRIE C. DENT (Pro Hac Vice)
14
                                                            Attorneys for Defendant
15
                                                            ROWLAND MARCUS ANDRADE
16

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      MANUAL FILING NOTIFICATION                                           CASE NO. 3:20-CR-00249-RS-LBx
      EXHIBIT 21: RECORDING ID-39
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 Declaration of Kerrie Dent - Exhibit 22




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 Declaration of Kerrie Dent - Exhibit 23




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 Declaration of Kerrie Dent - Exhibit 24




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 Declaration of Kerrie Dent - Exhibit 25




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 Declaration of Kerrie Dent - Exhibit 26




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 Declaration of Kerrie Dent - Exhibit 27




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 Declaration of Kerrie Dent - Exhibit 28




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 Declaration of Kerrie Dent - Exhibit 29




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 Declaration of Kerrie Dent - Exhibit 30




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     Case 3:20-cr-00249-RS     Document 120-2       Filed 11/28/22     Page 61 of 83



 1    KING & SPALDING LLP
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 5    KERRIE C. DENT (Admitted pro hac vice)
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 7    Telephone:   +1 202 626 2394
      Facsimile:   +1 202 626 3737
 8
      Attorneys for Defendant
 9    ROWLAND MARCUS ANDRADE

10                            UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
12

13 UNITED STATES OF AMERICA,                            CASE NO.: 3:20-CR-00249-RS-LBx
14                      Plaintiff,
                                                        MANUAL FILING NOTIFICATION
15          v.
                                                        EXHIBIT 30 TO DECLARATION OF
16 ROWLAND MARCUS ANDRADE,                              KERRIE C. DENT: RECORDING
17                      Defendant.
                                                        [UNREDACTED VERSION SOUGHT
18                                                      TO BE SEALED]

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      MANUAL FILING NOTIFICATION                                     CASE NO. 3:20-CR-00249-RS-LBx
      EXHIBIT 30: RECORDING
     Case 3:20-cr-00249-RS        Document 120-2          Filed 11/28/22     Page 62 of 83



 1                                MANUAL FILING NOTIFICATION

 2 Regarding:       EXHIBIT 30: Recording

 3 This filing is in physical form only, and is being maintained in the case file in the Clerk’s office.

 4

 5 This filing was not e-filed for the following reason:

 6             X           Non Graphical/Textual Computer File (audio) on USB drive.

 7

 8

 9 DATED: November 28, 2022                                KING & SPALDING LLP

10
                                                      By: /s/ Michael J. Shepard
11                                                        MICHAEL J. SHEPARD
                                                          KERRIE C. DENT (Pro Hac Vice)
12
                                                            Attorneys for Defendant
13
                                                            ROWLAND MARCUS ANDRADE
14

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      MANUAL FILING NOTIFICATION                                           CASE NO. 3:20-CR-00249-RS-LBx
      EXHIBIT 30: RECORDING
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 Declaration of Kerrie Dent - Exhibit 31




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 Declaration of Kerrie Dent - Exhibit 32




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 Declaration of Kerrie Dent - Exhibit 33
      Case 3:20-cr-00249-RS           Document 120-2           Filed 11/28/22       Page 66 of 83




From: Dawson, Andrew (USACAN) <Andrew.Dawson@usdoj.gov>
Sent: Tuesday, November 8, 2022 3:35 PM
To: Kerrie Dent <KDent@KSLAW.com>; Weingarten, Ross (USACAN) <Ross.Weingarten@usdoj.gov>
Cc: Mike Shepard <mshepard@kslaw.com>
Subject: RE: Marcus Andrade - motion to compel

CAUTION: MAIL FROM OUTSIDE THE FIRM
Hi Kerrie –

Our responses are below. We are preparing a large drive containing physical file discovery, which will go
out either at the end of this week or the beginning of next. The discovery ended up being too big for the
drive you sent, but we obtained a drive and will provide it. (We will need it back when you are done, of
course.) The vast bulk of the discovery consists of search warrant materials that were previously
produced in different formats. So where you previously received FTK reports, this batch will contain
processed images of the same content. This may be easier to search in some ways, so we wanted to
provide it to you. But it is very voluminous.

This discovery will also contain the Texas FBI files, certain UC-related materials that you have requested,
the Katz materials, and other materials from the physical file as well.

In addition, I have a drive containing the device images we previously discussed. That drive was
prepared by the FBI lab, and because the relevant SWs have already been executed I cannot review the
drive myself. But we will FedEx that to you along with the new batch of discovery.

-- Andrew

From: Kerrie Dent <KDent@KSLAW.com>
Sent: Tuesday, November 1, 2022 12:23 PM
To: Dawson, Andrew (USACAN) <adawson@usa.doj.gov>; Weingarten, Ross (USACAN)
<rweingarten@usa.doj.gov>
Cc: Mike Shepard <mshepard@kslaw.com>
Subject: [EXTERNAL] Marcus Andrade - motion to compel

Dear Andrew,
Thanks for your email. We have a few follow-up questions to clarify where things stand with
respect to the government’s response to our discovery requests. It appears to us that some issues
are now ripe for us to proceed on our motion, and others merit further discussion. We note that,
in some instances, you have limited your responses to documents “in this investigation.”
After offering two general comments, this letter (1) lists what we understand the government has
agreed to produce; (2) identifies issues on which we need further information from you; and (3)
catalogues the issues we believe are now ripe for us to bring to the Court’s attention.
As our first general note, our position is that the government is required under Rule 16 to provide
us with documents material to our preparation of Andrade’s defense, regardless of whether a
given statement, or FBI report, or other document was generated in this investigation or another
       Case 3:20-cr-00249-RS          Document 120-2           Filed 11/28/22       Page 67 of 83




investigation. Second, for those materials that you have agreed to produce, please provide a
schedule for when you think you will be making the production. Andrade was indicted two
years ago, and his trial is schedule for less than ten months from now.


Agreement to Produce
3/7/22 Letter, Request 7, prior DOJ investigations relating to Andrade. You agreed to produce
the FBI investigative files, including 302s and other related materials, related to two prior
investigations relating to Andrade.

   •    We have obtained copies of the FBI’s digital investigative files for two separate investigations
        out of Texas. Those materials have been imported into our case file, and those materials are
        being processed now. I anticipate they can be produced within the week.

3/7/22 Letter, Request 7, and 7/15/22 Letter, Request 8, parallel SEC investigation and other
SEC materials. With respect to your concern that our request is broad enough to cover attorney
work product, please let us know if the SEC has relevant material that you or it is withholding
based on privilege or work product. We believe there are substantial amounts of information
from the SEC investigation that would be material to the preparation of Andrade’s defense and
not subject to privilege or work product claims, including but not limited to bank statements,
interviews and/or testimony, and whistleblower complaints. To take just one example, Jensen
had communications with Terrence Poon relating to Andrade.
   •    I am working with SEC counsel to get their permission to produce documents related to the
        parallel SEC investigation into AML Bitcoin. Once again, I do not have custody or control of such
        documents, but I have requested that SEC agree to make productions. I have never heard of the
        SEC providing a privilege log of materials withheld due to their own privilege, and I can’t imagine
        they would do so.

3/7/22 Letter, Request 9, cooperation or plea agreements. You have agreed to produce
cooperation and plea agreements. Please check for any cooperation or plea agreements that are
material to preparation of Andrade’s case – not just those entered into in this investigation.
   •    We will produce all relevant cooperation or plea agreements called for under Giglio or, if they
        apply, any other rule of discovery. We are not presently aware of any such agreements from
        other investigations, save for Mr. Abramoff’s plea agreement from his prior prosecution. If we
        become aware of any such materials that are subject to production, we will produce them.

5/10/22 Letter, Discovery Request 6, Telegram and Discord channels and accounts. You stated
that materials responsive to this request are being processed for production now.
   •    The materials in the FBI’s physical file are currently being processed, and we anticipate they will
        be produced next week.
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 5/10/22 Letter, Discovery Request 10, UC operations. You stated that the government has
produced, or is in the process of producing, all discoverable materials regarding any UC
operations in this investigation. Please provide all UC operations material to the preparation of
Andrade’s defense.
   •    The physical UC subfile from this investigation is next in line to be processed, and it will be
        produced after the initial tranche of the physical file (which we anticipate will contain the Main,
        GJ, and 302 subfiles). To the extent your request applies to other UC operations, we are not
        aware of any.

7/15/22 Letter, Request 11, Katz documents. We will wait until AUSA Weingarten is finished
with his trial to address the apparent gap in the production of the Katz documents.
   •    We have obtained a new copy of the Katz production, and it is being processed now. I anticipate
        it will go out late this week or early next week.



Follow-up Questions
3/7/22 Letter, Requests 20 and 21. With regard to the missing attachment to Boyer’s message to
Dillman, please check to see if you have the attachment in materials you have received from
Dillman.
   •    We will conduct a search. I note what we have produced to you the seizures from
        Dillman’s computer, so you should be equally able to search for it.
3/7/22 Letter, Request 22, mobile application recordings. You state that you will prepare and
produce a new set of all recordings from the FBI mobile application in order to ensure we are not
missing anything. To clarify, we have asked for recordings for all people who used the
recording app in connection with this case, not just Boyer.
   •    We are preparing a complete set of mobile application recordings for this case. The set is not
        limited to Boyer.

3/7/22 Omnibus NSA and DOJ files request. We understand that NSA materials may be
classified, and that we may need to comply with CIPA for responsive documents that fall into
that category. Please let us know if you have searched for unclassified material in response to
this request. The FBI is part of the Department of Justice, and—yes—we are requesting that you
to review the files that the FBI keeps on the individuals listed in this request for exculpatory
evidence pertaining to Andrade. Please let us know if you will do so.
   •    This request is grossly overbroad and without justification. We have made, and continue to
        make, productions from the FBI’s investigative file in this case. We have also reviewed and
        conducted searches in other, tangentially related investigations when you have requested it and
        there has been a basis to do so. If you believe further such targeted searches are appropriate,
        we would be happy to consider them. An unexplained demand for files related to 26
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        individuals, some of whom with no apparent connection to this case, is an unjustified fishing
        expedition.

7/15/22 Letter, Request 14, CIA materials. We understand that CIA materials may be classified,
and that we may need to comply with CIPA for responsive documents that fall into that
category. Please let us know if you have searched for unclassified material in response to this
request, and, if not, whether you will do so.
   •    I do not have access to CIA materials and have no reason to believe any such materials are
        relevant to this case. If there is a factual basis I can present in order to seek such access, I would
        be happy to try. But my understanding is that the CIA does not allow AUSAs to rummage
        through its files without some form of justification.

7/15/22 Letter, Request 2, Levin’s devices. You state that the case agents have requested access
to the case file relating to Alexander Levin and they will run searches for responsive
materials. When do you expect the agents to run their searches? You do not address Levin’s
phone or ipad, which we have requested
   •    The agents have conducted electronic searches of a case file related to Alexander Levin for any
        references to Andrade or “AML Bitcoin.” There were no hits. Given that neither “Andrade” nor
        “AML Bitcoin” appears in the case file, there appears to be no basis beyond sheer speculation to
        justify a search of any devices that may have been seized and searched in that case.

Two additional requests from the May 10 request letter that we did not discuss on October 3, but
on which we want to know your position:
5/10/22 Letter, Request 5, search warrants, and subpoenas relating or directed to Andrade, NAC
Foundation, Aten Coin, AML Bitcoin, and Andrade’s attorney Eric Olsen.
   •    Are you requesting materials from other investigations, or do you believe there are
        materials missing from the investigation resulting in this case? Do you really want the
        subpoenas themselves, or the productions in response to those subpoenas? As to the
        investigation that resulted in this case, we have produced or are in the process of
        producing (via the physical file), all relevant materials (SWs and subpoena productions)
        of which we are aware.
5/10/22 Letter, Request 9, victim letters and the statements by Masiitwa, Tippett, and Whitton on
their applications for financial assistance.
   •    I have located 302s for Masiitwas (FBI-302-001204), Tippett (FBI-302-001110), and
        Whitton (FBI-302-001601). What application for financial assistance are you talking
        about?
Ripe for Motion to Compel
3/7/22 Letter, Requests 1 & 2, Abramoff criminal history.
3/7/22 Letter, Request 3 and 4, Butina and Erikson.
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3/7/22, Request 5, Special Agent Saler.
5/10/22 Requests 5 and 6, re Comply Advantage and Global Visions Solutions.
5/10/22 Request 2, Privilege Log related to items removed from Abramoff’s phone (as indicated
on the first page of the cellebrite file).
7/15/22 Letter, Request 15, FISA materials.
7/15/22 Letter, Request 12, various search warrants and related materials.


I am available for a call any time today if you have any questions or want to discuss any of the
above.


Thanks,
Kerrie




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                                             United States Attorney
                                             Northern District of California



                                               11th Floor, Federal Building               (415)436-7200
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                                               San Francisco, CA 94102-3495          FAX: (415)436-7234




                                            August 9, 2022

By E-mail to Defense Counsel

Michael Shepard
Amy Hitchcock
Kerrie Covell Dent
Luke Roniger
King & Spaulding
50 California Street
Suite 3300
San Francisco, CA 94111


                Re:   United States v. Rowland Marcus Andrade
                      No. 20-CR-00249 RS

Dear Counsel:

       I write in response to your July 15, 2022 letter. We have researched each of your
discovery requests. I respond to each of your numbered requests below:


   1. The phone call on August 19, 2019 between FBI SA Quinn and Mr. Andrade was not
      recorded.
   2. As we have previously communicated, the government does not believe that the
      investigation into Alexander Levin is relevant to this case. If you have more information
      about why or how it is relevant, you are welcome to let us know. Otherwise, the
      government does not believe that any files seized from Mr. Levin are discoverable in this
      case.
   3. As we have previously communicated, the government does not believe that the
      investigation into Maria Butina is relevant to this case. If you have more information
      about why or how it is relevant, you are welcome to let us know.
   4. There are records relating to Mr. Andrade’s income and digital transaction records that
      are in the physical file related to this case. Those records are currently being scanned and

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    will be produced. Any other records that are relevant to this request that the government
    is aware of have already been produced.
5. The government is unaware of any documents or 302s in its possession relating to Peter
    Mirijanian.
6. The government is aware that Mr. Vlahovic is mentioned in 302s that were previously
    produced, including but not limited to: FBI-MAIN-0000028-FBI-MAIN-0000029; FBI-
    GJ-0001352; FBI-UC-000061; FBI-MAIN-0000416-FBI-MAIN-0000417. The FBI
    never interviewed Mr. Vlahovic. The government is unaware of any other documents or
    materials that exist related to Mr. Vlahovic.
7. The government is aware that Mr. Lewandowski is mentioned in prior 302s that were
    previously produced, including but not limited to: FBI-MAIN-0000325-FBI-MAIN-
    0000326, and FBI-302-005432-FBI-302-005458. The government is unaware of any
    other relevant materials in its possession that exist relating to Mr. Lewandowski.
8. The government notes that the SEC is an independent government agency and is not part
    of the trial team in this case. Out of an abundance of caution, the government has
    checked with the SEC and is unaware of the existence of any responsive materials.
9. The government does not believe that a recording exists of a conversation between Joe
    Ortiz and SA Wynar.
10. The government has produced all of the Skype communications between Mr. Andrade
    and Ms. Foteh that it is aware of, including but not limited to: FBI-302-004964, FBI-
    302-005013. The government is not aware of any Skype communications between Mr.
    Andrade and Ms. Foteh in its possession that have not yet been produced.
11. The government believes it has produced all materials involving or referencing Leslie
    Katz that were responsive to the subpoena, including but not limited to: FBI-302-005235
    to FBI-302-005246.
12. As communicated in a previous letter, the government has produced or will produce
    shortly all search warrant applications and affidavits that are relevant to this case. Many
    of the names in this request are not relevant to this case. If you have information as to
    why they are relevant, you are free to let us know at any time.
13. The government believes it has produced all materials that are responsive to the
    subpoena, including but not limited to: FBI-302-001755 to FBI-302-001756, and FBI-
    302-004812 to FBI-302-004829.
14. The government is unaware of any reports or communications by the CIA that are
    relevant to this case. If you have information suggesting they do exist, you are free to let
    us know at any time.
15. The government is unaware of any FISA applications or related materials that are
    relevant to this case. If you have information suggesting they do exist, you are free to let
    us know at any time.
16. As previously communicated, the government does not believe that the investigation into
    Paul Erikson is relevant to this case. If you have more information about why or how it
    is relevant, you are welcome to let us know. Otherwise, the government does not believe
    that any files seized from Mr. Erickson are discoverable in this case.
17. The government has produced full investigative files from the FBI for earlier
    investigations related to Mr. Andrade. With respect to the SEC, the government notes
    that the SEC is a separate government agency and is not part of the trial team. Out of an



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       abundance of caution, the government checked with the SEC and is unaware of the
       existence of any responsive materials.

   In addition, I write to inform you that the government intends to return Mr. Andrade’s
devices that are currently in the government’s possession to him. Please call me at your
convenience to discuss how best to effectuate the return of his devices that are currently in the
government’s possession.

       Please contact me if you have any questions concerning the foregoing.


                                                             Very truly yours,

                                                             STEPHANIE M. HINDS
                                                             United States Attorney


                                                                    /s/
                                                             ANDREW F. DAWSON
                                                             ROSS WEINGARTEN
                                                             Assistant United States Attorneys




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